...
          Case 1:17-cv-04327-LLS-RWL Document 74 Filed 01/10/18 Page 1 of 2
      ORIGINAL                                                                         '',   •j,.'
                                                                                                        . ":

      UNITED STATES DISTRICT COURT
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      SOUTHERN DISTRICT OF NEW YORK                                 DOC#:·------~~~~-B
      ------------------------------X
      MICHAEL DARDASHTIAN, individually and
                                                                    D.ATE FILED: l
      on behalf of COOPER SQUARE VENTURES,
      LLC, NDAP, LLC and CHANNELREPLY, LLC,

                                           Plaintiffs,                     STIPULATION AND
                                                                       I         .Ill ORDER OF
            -against-                                                       DISMISSAL WITH
                                                                               PREJUDICE
      DAVID OlTMAN, JEREMY FALK,
      SUMMIT ROCK HOLDINGS, LLC,                                            17 Civ. 04327 (LLS)
      ACCEL COMMERCE, LLC,
      DALVA VENTURES. LLC,
      KONSTANTYN BAGAEV,                                   ..
      OLEKSII GLUKHAREV and
      CHANNEL REPLY, INC.,

                                            Defendants.
                                                           "
      ·-··-----·---···-----------------···-··------------------
               IT IS HEREBY STIPULATED AND AGREED, pursuant to Fed.R.Civ.P. 41(a), between

      and among the undersigned, that this action is hereby dismissed with prejudice as to Defendants

      Jeremy Falk and Summit Rock Holdings, LLC and without costs or fees to any party;

             IT IS HEREBY FURTHER STIPULATED AND AGREED, that Defendants Jeremy

      Falk and Summit Rock Holdings, LLC's claims, crossclaims and cowtterclaims, if any, are

      hereby dismissed with prejudice and without costs or fees as to all parties;
             JT IS FURTHER STIPULATED AND AGREED that this Stipulation may be signed in

      counterparts with facsimile and/or electronic signatures treated as originals.

       Dated: New York, New York
              January 4, 2018




       Edward P. Gilbert, Esq.                              Barry S. Guaglardi, Esq.
       MORRISON COHEN LLP                                   Evan Ostrer, Esq.
       Attorneys for Defendants                             ARTURI, D•ARGENIO, GUAGLARDI
       Jeremy Falk and Summit Rock Holdings. LLC            & MELITI, LLP
      Case 1:17-cv-04327-LLS-RWL Document 74 Filed 01/10/18 Page 2 of 2



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SO ORDERED:


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on. Lou1s L. Stanton
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